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                                         SOUTHERNDISTRTCT OF GEORGIA
                                                  DUBI,IN DIVISION                             2et[|PR-7 PH

UNITED           STATES OF AIV1ERICA

                                                              *          cR 310-01"4

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                                                        ORDER


            Defendant           has filed         a motion             for   reductsion of sencence under

 18 U.S.c.             S 3582(c) (2)              on the          basis      that    Amendment 782 to                   Lhe

 UniEed states                  sentencing            Guidelines             has revised        Ehe guidelines

 applicable             to     drug       tsrafficking            offenses.          Even though Amendment

 782 became effective                          on November I,                2014,     no defendant              may be

 rel-eased           on        the       basi-s    of     the          retroactive          amendment            before

November L, 2Of5.                        See U.S.S.G. Amend, 788,                      Thus, the Court will

undertake             a review            of   cases involving                drug     trafficking             offenses

 in due course.                     If   Defendant       is       enE.itl-ed to a sentsence reductlon

 as     a        resuLt        of        amendments       ta           the    United      SLates         Sentencing

 Guidelines,                  che Court        will     make such a reduction                      sua sponte.

Accordingly,                  Defendant's          motion          (doc. no.         370)        DEFERRED.l

            oRDER ENTERED at                   Augusta,           Georgia,      this             l-..
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          The clerk    is directed                                to     terminaEe       the    motion           for
administrat  j-ve purposes .
